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 5 Attorneys for Defendant
      THE CBE GROUP, INC.
6

 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11 MARK GALAVIZ                                   Case No: EDCV12-874-VAP (DTBx)
12               Plaintiff,                       NOTICE OF SETTLEMENT
13         vs.
14 THE CBE GROUP, INC. and DOES 1
15 through 10, inclusive,
                Defendant.
16

17

18 Defendant, The CBE Group, Inc. hereby notifies the Court that the parties have
19 reached a full settlement in the instant action. The parties wil require an additional thirty
20 (30) days to finalize the settlement agreement and submit a Stipulated Request for
21 DismissaL.

22

23
     Dated: November 8,2012                 FOLEY & MANSFIELD, PLLP
24
                                       By: lsi Sean P. F~n
25                                         SEANP.FL NN
                                            Attorneys for Defendant
26                                          THE CBE GROUP, INC.

27

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                                       NOTICE OF SETTLEMENT
     Case 5:12-cv-00874-VAP-DTB Document 17 Filed 11/09/12 Page 2 of 2 Page ID #:99


 1                                           PROOF OF SERVICE

 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:
 3
            I am employed in the County of Los Angeles, State of California. I am over the age of 18
 4   and not a party to the within action; my business address is 300 South Grand Ave., Suite 2800,
     Los Angeles, California 90071
 5
            On November 9, 2012, I served the foregoing document described as: NOTICE OF
 6   SETTLEMENT on the interested parties in this action as follows:
 7

 8~         (BY COURT'S CMÆCF SYSTEM) Pursuant to Local Rule, I electronically fied the
            documents with the Clerk of the Court using the CM/ECF systems to the parties and/or
 9          counsel who are registered CM/ECF Users set forth in the service list obtained from this
            court.
10

11 ~        (FEDERAL) I declare that I am employed in the office of a member of the bar of this
            Court at whose direction the service was made.
12

13   D      (STATE) I declare under penalty of perjury under the laws of the State of California that
            the above is true and correct.
14
            Executed on November 9,2012, Los Angeles, California.
15

16                                                        lsi Christine Sanders
                                                         Christine Sanders
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                                              PROOF OF SERVICE
